                IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF MISSOURI
                           SOUTHWESTERN DIVISION


UNITED STATES OF AMERICA,                          )
                                                   )
                          Plaintiff,               )
                                                   )
       vs.                                         )       No. 15-05047-01-CR-SW-BP
                                                   )
MARKLEE BOGART,                                    )
                                                   )
                          Defendant.               )


                        ACCEPTANCE OF PLEA OF GUILTY AND
                             ADJUDICATION OF GUILT


       Pursuant to the Report and Recommendation of the United States Magistrate Judge, to

which there has been no timely objection, the plea of guilty of the Defendant to Counts One and

Three and admitted to the Forfeiture Allegation contained in the Indictment filed on December 9,

2015, is now Accepted and the Defendant is Adjudged Guilty of such offense. Sentencing will be

set by subsequent Order of the Court.




                                                          /s/ Beth Phillips
                                                         BETH PHILLIPS
                                                   UNITED STATES DISTRICT JUDGE




Date: August 19, 2016




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